                 Cite as: 603 U. S. ____ (2024)            1

                          Per Curiam

SUPREME COURT OF THE UNITED STATES
                         _________________

                          No. 24A78
                         _________________


       DEPARTMENT OF EDUCATION, ET AL. v.
              LOUISIANA, ET AL.
                 ON APPLICATION FOR STAY
                         _________________

                          No. 24A79
                         _________________


 MIGUEL CARDONA, SECRETARY OF EDUCATION,
          ET AL. v. TENNESSEE, ET AL.

                 ON APPLICATION FOR STAY
                       [August 16, 2024]

  PER CURIAM.
  The application for a partial stay presented to JUSTICE
ALITO in No. 24A78 and by him referred to the Court is
denied. The application for a partial stay presented to
JUSTICE KAVANAUGH in No. 24A79 and by him referred to
the Court is denied.
  The Department of Education recently issued a new rule
implementing Title IX of the Education Amendments of
1972. The rule newly defined sex discrimination to
includ[e ] discrimination on the basis of sex stereotypes,
sex characteristics, pregnancy or related conditions, sexual
orientation, and gender identity. 89 Fed. Reg. 33886
(2024).
  Several States and other parties sought preliminary
injunctions against the new rule, arguing among other
things that the rule exceeded the bounds of the statutory
text enacted by Congress. District Courts in Louisiana and
Kentucky agreed with the plaintiffs and preliminarily
enjoined enforcement of the rule in the plaintiff States. The
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                         Per Curiam

Courts of Appeals for the Fifth and Sixth Circuits then
declined to stay the injunctions in the interim period while
those courts consider the Governments appeals of the
preliminary injunctions.
   The Government has now filed emergency applications in
this Court seeking partial stays of the preliminary
injunctions pending resolution of the appeals in the Fifth
and Sixth Circuits. The Court denies the Governments
applications.
   Importantly, all Members of the Court today accept that
the plaintiffs were entitled to preliminary injunctive relief
as to three provisions of the rule, including the central
provision that newly defines sex discrimination to include
discrimination on the basis of sexual orientation and gender
identity. But the Government argues (and the dissent
agrees) that those provisions should be severed and that the
other provisions of the new rule should still be permitted to
take effect in the interim period while the Governments
appeals of the preliminary injunctions are pending in the
Courts of Appeals. The lower courts concluded otherwise
because the new definition of sex discrimination is
intertwined with and affects many other provisions of the
new rule. Those courts therefore concluded, at least at this
preliminary stage, that the allegedly unlawful provisions
are not readily severable from the remaining provisions.
The lower courts also pointed out the difficulty that schools
would face in determining how to apply the rule for a
temporary period with some provisions in effect and some
enjoined.
   In this emergency posture in this Court, the burden is on
the Government as applicant to show, among other things,
a likelihood of success on its severability argument and that
the equities favor a stay. On this limited record and in its
emergency applications, the Government has not provided
this Court a sufficient basis to disturb the lower courts
interim conclusions that the three provisions found likely
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to be unlawful are intertwined with and affect other
provisions of the rule. Nor has the Government adequately
identified which particular provisions, if any, are
sufficiently independent of the enjoined definitional
provision and thus might be able to remain in effect.
Moreover, related to the equities, the Sixth Circuit has
already expedited its consideration of the case and
scheduled oral argument for October. The Court expects
that the Courts of Appeals will render their decisions with
appropriate dispatch. In light of all of the circumstances,
the Court denies the Governments applications for partial
stays.
                                            It is so ordered.
                  Cite as: 603 U. S. ____ (2024)             1

                   SOTOMAYOR
                SOTOMAYOR , J., ,dissenting
                                  J., dissenting
                                             in part

SUPREME COURT OF THE UNITED STATES
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                            No. 24A78
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       DEPARTMENT OF EDUCATION, ET AL. v.
              LOUISIANA, ET AL.
                 ON APPLICATION FOR STAY
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                            No. 24A79
                           _________________


  MIGUEL CARDONA, SECRETARY OF EDUCATION,
           ET AL. v. TENNESSEE, ET AL.

                 ON APPLICATION FOR STAY
                        [August 16, 2024]

   JUSTICE SOTOMAYOR, with whom JUSTICE KAGAN,
JUSTICE GORSUCH, and JUSTICE JACKSON join, dissenting
in part from the denial of applications for stays.
   Respondents challenged a Department of Education rule
implementing Title IX of the Education Amendments of
1972. Respondents contend that the rule unlawfully rede-
fines sex discrimination; that it violates students and em-
ployees rights to bodily privacy and safety; and that its def-
inition of hostile environment harassment is inconsistent
with the statute and violates the First Amendment. Every
Member of the Court agrees respondents are entitled to in-
terim relief as to three provisions of that Rule: 34 CFR
§106.10 (2023) (defining sex discrimination), §106.31(a)(2)
(prohibiting schools from preventing individuals from ac-
cessing certain sex-separated spaces consistent with their
gender identity), and §106.2s definition of hostile environ-
ment harassment. Respondents alleged injuries flow from
those three provisions.
   Today, however, a majority of this Court leaves in place
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                   SOTOMAYOR, J., dissenting in part

preliminary injunctions that bar the Government from en-
forcing the entire ruleincluding provisions that bear no
apparent relationship to respondents alleged injuries.
Those injunctions are overbroad. To be sure, this litigation
is still unfolding, and respondents might eventually show
injuries from the other portions of the rule. If so, those in-
juries might merit further relief. For now, on the briefing
and record currently before us, I would stay the preliminary
injunctions except as to the three provisions above, in keep-
ing with the traditional principle of equitable remedies that
relief afforded [to] the plaintiffs must not be more bur-
densome than necessary to redress the complaining par-
ties. Califano v. Yamasaki, 442 U. S. 682, 702 (1979); see
Madsen v. Womens Health Center, Inc., 512 U. S. 753, 765
(1994) ([An] injunction [should be] no broader than neces-
sary to achieve its desired goals).
                                I
   Title IX provides that [n]o person in the United States
shall, on the basis of sex, be excluded from participation in,
be denied the benefits of, or be subjected to discrimination
under any education program or activity receiving Federal
financial assistance. 86 Stat. 373, 20 U. S. C. §1681(a).
Congress charged the Department of Education with issu-
ing rules, regulations, or orders of general applicability to
effectuate Title IXs antidiscrimination mandate. §1682.
Pursuant to that authority, in April 2024, the Department
issued an omnibus rule amending Title IXs regulations, set
to take effect nationwide on August 1, 2024. See 89 Fed.
Reg. 33474 (2024) (Rule). The amended provisions of the
Rule cover a range of matters, most of which do not refer-
ence gender identity discrimination and went unmentioned
by respondents.1

  1 Those provisions include: a provision requiring access to lactation

spaces and reasonable modifications for pregnant students, such as re-
stroom breaks, 89 Fed. Reg. 33888, 3389533896 (to be codified in 34
                      Cite as: 603 U. S. ____ (2024)                        3

                    SOTOMAYOR, J., dissenting in part

  Respondents claim they are harmed by three provisions
of the Rule. First, at 34 CFR §106.10, the Rule defines
[d]iscrimination on the basis of sex to includ[e] discrimi-
nation on the basis of sex stereotypes, sex characteristics,
pregnancy or related conditions, sexual orientation, and
gender identity.     89 Fed. Reg. 33886.         Second, at
§106.31(a)(2), the Rule addresses Title IXs application in
sex-separated spaces. 89 Fed. Reg. 33887. The Rule leaves
untouched Title IXs explicit recognition that schools may
differentiate between students on the basis of sex in some
contexts, such as in assigning dormitories and creating ath-
letic teams.2 Outside those statutory exceptions, however,

CFR §§106.40(b)(3)(v), 106.57); a provision affirming the legal rights of
parents and guardians to act on behalf of complainants and respondents,
89 Fed. Reg. 33885 (to be codified in 34 CFR §106.6(g)); three provisions
addressing schools obligations in responding to claims implicating Title
IX, including measures to assist impacted parties, employee-notification
requirements, Title IX coordinator duties, applicable grievance proce-
dures, and protection of personally identifiable information, 89 Fed. Reg.
3388833895 (to be codified in 34 CFR §§106.44, 106.45, 106.46); a pro-
vision addressing schools obligations to designate Title IX coordinators,
and adopt and implement a nondiscrimination policy and grievance pro-
cedures, 89 Fed. Reg. 3388533886 (to be codified in 34 CFR §106.8); a
provision clarifying schools obligations with respect to retaliation, 89
Fed. Reg. at 33896 (to be codified in 34 CFR §106.71); a provision clari-
fying that the Department of Educations Assistant Secretary of Civil
Rights will not deem a recipient to have violated the Title IX regulations
solely because the Assistant Secretary would have reached a different
decision in a particular complaint alleging sex-based harassment, 89
Fed. Reg. at 33895 (to be codified in 34 CFR §106.47); and a provision
addressing what pre-employment inquiries a school may make regarding
an individuals marital status and sex, 89 Fed. Reg. 33896 (to be codified
in 34 CFR §106.60).
  2 Specifically, those contexts include membership in fraternities or so-

rorities, 20 U. S. C. §1681(a)(6), separate living facilities, §1686, and ath-
letic teams, Education Amendments of 1974, 88 Stat. 612. The Depart-
ment explained in the Rule that neither §106.31(a)(2) nor anything else
in the Rule addresses or alters existing requirements governing sex sep-
aration in athletics, which is the subject of a separate rulemaking. 89
Fed. Reg. 3381633817.
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                   SOTOMAYOR, J., dissenting in part

§106.31(a)(2) states that Title IX generally permits differ-
ent treatment or separation on the basis of sex only to the
extent that such differential treatment or separation does
not discriminat[e]. . . by subjecting a person to more than
de minimis harm. Section 106.31(a)(2) further provides
that a policy or practice that prevents a person from par-
ticipating in an education program or activity consistent
with the persons gender identity subjects a person to more
than de minimis harm on the basis of sex. (Emphasis
added.) Sections 106.10 and 106.31(a)(2) are the only pro-
visions in the entire Rule that reference gender identity.
   Third, at 34 CFR §106.2, the Rule defines several terms,
including hostile environment harassment. 89 Fed. Reg.
33884. Hostile environment harassment is a prohibited
form of sex discrimination that, as defined by the Rule, in-
volves [u]nwelcome sex-based conduct that, based on the
totality of the circumstances, is subjectively and objectively
offensive and is so severe or pervasive that it limits or de-
nies a persons ability to participate in or benefit from the
recipients education program or activity (i.e., creates a hos-
tile environment). Ibid. Respondents do not object to
§106.2s definitions of other terms within the Rule, such as
complaint, disciplinary sanctions, elementary school,
and student.
   Two groups of States filed suits in two District Courts
challenging the new Rule as unlawful.3 They contend that

  3 One suit was brought by the States of Louisiana, Mississippi, Mon-

tana, and Idaho, joined by the Louisiana Department of Education and
18 Louisiana school boards. Another suit was brought by the states of
Tennessee, Kentucky, Ohio, Indiana, Virginia, and West Virginia, joined
by an association of Christian teachers and a 15-year-old girl from West
Virginia. Several other States and parties have filed similar suits chal-
lenging the Rule and requesting preliminary injunctions within the
plaintiff States. See Kansas v. United States Dept. of Ed., __ F. Supp. 3d
__, 2024 WL 3273285 (D Kan., July 2, 2024); Texas v. United States, No.
24CV86, 2024 WL 3405342 (ND Tex., July 11, 2024); Carroll Inde-
pendent School District v. United States Dept. of Ed., __ F. Supp. 3d __,
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                  SOTOMAYOR, J., dissenting in part

the Rule unlawfully rewrites Title IXs prohibition on sex
discrimination to include discrimination based on students
gender identity. Respondents further argue that §106.2s
definition of hostile environment harassment is unlawful
under Davis v. Monroe County Bd. of Ed., 526 U. S. 629
(1999), because it waters down the standard for what con-
stitutes actionable sex-based harassment: Title IX com-
plainants can prevail under the Rule by showing the alleged
harassment was severe or pervasive (as opposed to both)
and do not need to prove that the offending conduct denied
them access to educational benefits. Respondents sepa-
rately assert that §106.2s definition of hostile environ-
ment harassment violates the First Amendment by
chilling or compelling speech, including on issues of gender
identity.
   Accordingly, when respondents asked the District Courts
to preliminarily enjoin enforcement of the Rule, they fo-
cused on the two provisions concerning gender identity
§§106.10 and 106.31(a)(2)and §106.2s definition of hos-
tile environment harassment. Respondents alleged that
those three provisions would cause them irreparable harm
if the Rule went into effect. Specifically, they asserted that
they would incur unrecoverable costs in complying with
those provisions (and a loss of Title IX funding if they failed
to do so), that they would lose the right to speak freely on
issues such as gender identity, and that they would be un-
able to enforce existing state laws that conflict with the
Rules prohibition of gender identity discrimination. Alt-
hough respondents alleged irreparable harm apparently
traces back to just three of the Rules provisions, the Dis-
trict Courts preliminarily enjoined the Government from
enforcing the entire Rule in all the respondent States.

2024 WL 3381901 (ND Tex., July 11, 2024); Arkansas v. United States
Dept. of Ed., No. 4:24CV636, (ED Mo., July 24, 2024), ECF Doc. 54;
Alabama v. Cardona, No. 7:24CV533, 2024 WL 3607492 (ND Ala.,
July 30, 2024).
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  After unsuccessful efforts to seek relief from these over-
broad injunctions in the lower courts, the Government asks
this Court to stay the injunctions in part. The Government
does not contest the continued injunction as to §106.31(a)(2)
(regulating access to sex-separated spaces) or §106.2s defi-
nition of hostile environment harassment as applied to gen-
der identity discrimination. Instead, it asks this Court to
stay the injunction as to §106.2s definition of hostile envi-
ronment harassment as applied to other forms of sex dis-
crimination, §106.2s other definitions, §106.10, and the re-
mainder of the Rules unchallenged provisions.
                               II
   I would grant most of the Governments stay requests and
leave enjoined only its enforcement of the three challenged
provisions.4 A preliminary injunction is an extraordinary
exercise of equitable authority, appropriate only upon a
clear showing that a party is entitled to such relief. Win-
ter v. Natural Resources Defense Council, Inc., 555 U. S. 7,
22 (2008). To obtain a preliminary injunction, a party must
establish, among other things, that it would likely suffer ir-
reparable harm without equitable relief. Ibid. Even when
a party makes that showing, though, a court must tailor eq-
uitable relief to redress the partys alleged injuries without
burdening the defendant more than necessary. See Mad-
sen, 512 U. S. at 765 ([An] injunction [should be] no
broader than necessary to achieve its desired goals); Ya-
masaki, 442 U. S. at 702 (explaining that relief afforded
[to] the plaintiffs must not be more burdensome than nec-
essary to redress the complaining parties).
   Here, respondents alleged injuries flow from the chal-
lenged provisions. Even assuming respondents established
that those provisions subject them to a threat of irreparable
harm, enjoining enforcement of the entire Rule appears to

  4 For §106.2, I would leave enjoined only its definition of hostile envi-

ronment harassment.
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go beyond what was necessary to redress those injuries.
   Consider some of the unchallenged provisions. The Rule
requires schools to provide reasonable modifications to
pregnant students, including but not limited to breaks dur-
ing class to express breast milk, breastfeed, or attend to
health needs associated with pregnancy or related condi-
tions. 89 Fed. Reg. 33887. A separate provision prohibits
schools from making a preemployment inquiry as to an ap-
plicants marital status and limits the circumstances under
which a school may make a preemployment inquiry as to an
applicants sex. Id., at 33896. The Rule also mandates that
schools prohibit staff and students from retaliating against
students who file Title IX complaints, and provides the pro-
cedure a school must follow upon receiving a complaint of
retaliation. Ibid. Those provisions (like many others in the
Rule) do not reference gender identity discrimination or
hostile environment harassment and bear no apparent re-
lationship to respondents alleged injuries. As litigation
over the Rule proceeds, respondents might be able to show
those other portions of the Rule will irreparably harm them
in a manner justifying further equitable relief. At this junc-
ture, however, enjoining the application of any other part of
the Rule needlessly impairs the Government from enforcing
Title IX and deprives potential claimants of protections
against forms of sex discrimination not at issue in respond-
ents suit.
   Respondents maintain that the Government must re-
main enjoined from enforcing the entire Rule because the
challenged provisions permeate it. Respondents fail to ex-
plain, however, why enjoining enforcement of the entire
Rule at this stage is necessary to redress their alleged inju-
ries. As an initial matter, many unchallenged provisions
(such as those governing preemployment inquiries about an
applicants marital status or sex and prohibiting pregnancy
discrimination) include no reference to gender identity dis-
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                SOTOMAYOR, J., dissenting in part

crimination or hostile environment harassment. Respond-
ents offer nothing to justify preventing the Government
from enforcing those parts of the Rule. As for the provisions
that do incorporate the Departments allegedly unlawful
definitions of sex-based discrimination and harassment, re-
spondents do not explain how those provisions would injure
them while the Government is enjoined from enforcing the
disputed definitions. Take the Rules requirement that em-
ployees be trained on [t]he scope of conduct that consti-
tutes sex discrimination under Title IX and this part, in-
cluding the definition of sex-based harassment. 89 Fed.
Reg. 33886. Even respondents do not argue that the train-
ing requirement is itself unlawful. With the challenged pro-
visions out of the picture, the scope of conduct under that
training provision would exclude gender identity discrimi-
nation and hostile environment harassment, the sources of
respondents alleged injuries. If there were any doubt on
this score, moreover, the Court could simply have excluded
the provision from its stay order.
   Respondents further assert that the Rule would be un-
workable with the Government enjoined from applying its
definition of sex discrimination. For 50 years, however, Ti-
tle IX regulations have not defined sex discrimination, and
respondents offer no evidence that schools cannot comply
with their Title IX obligations without such a definition.
                         *    *    *
  By blocking the Government from enforcing scores of reg-
ulations that respondents never challenged and that bear
no apparent relationship to respondents alleged injuries,
the lower courts went beyond their authority to remedy the
discrete harms alleged here. The injunctions this Court
leaves in place will burden the Government more than nec-
essary. The injunctions will also affect the public. Individ-
uals in the respondent states will be deprived of guidance
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related to their rights under Title IX, of updates to the pro-
cesses schools must follow in investigating their complaints
of sex discrimination, of protections from retaliation should
they file a complaint, and of much more. On the present
record, more tailored relief focused on the three challenged
provisions would have redressed respondents alleged inju-
ries without depriving the public of the Rules other provi-
sions. Because the majority of this Court nonetheless
leaves the overly broad injunctions in place, I respectfully
dissent in part.
